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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiff,                                4:08CR3148
      vs.
                                                                  ORDER
LARRY J. LAUTENSCHLAGER,
                    Defendant.
       The court has orally examined the financial status of the defendant in support of
Defendant’s request for appointed counsel. After a review of the Financial Affidavit, the
court finds the above-named defendant is currently eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice
Act Plan for the District of Nebraska.

       Accordingly,

       IT IS ORDERED:
       1)     Nancy Peterson is appointed as attorney of record for the above-named
              defendant in this matter and shall forthwith file an appearance in this
              matter.    The Federal Public Defender’s Office shall forthwith provide
              counsel with a draft appointment order (CJA Form 20) bearing the name
              and other identifying information of the CJA Panel attorney identified in
              accordance with the Criminal Justice Act Plan for this district.

       2)     The Clerk shall provide a copy of this order to the Federal Public Defender

              for the District of Nebraska and to the appointed attorney.

       October 2, 2014.

                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
